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     Attorneys for Defendant D & A Services, LLC

11                              UNITED STATES DISTRICT COURT
12
                             CENTRAL DISTRICT OF CALIFORNIA
13

14   ANITA ROSS,                                           )    Case No. 19-cv-00310-DSF-KK
15
                                                           )
                            Plaintiff,                     )
16                                                         )    STIPULATION TO EXTEND TIME
17         vs.                                             )    TO RESPOND TO INITIAL
                                                           )    COMPLAINT BY NOT MORE THAN
18
     D & A SERVICES, LLC,                                  )    30 DAYS (L.R. 8-3)
19                                                         )
                            Defendants.                    )    Complaint served: Feb. 27, 2019
20
                                                           )    Current response date: March 20, 2019
21                                                         )    New response date: April 10, 2019
22
                                                           )
23
           It is hereby stipulated by Plaintiff Anita Ross and Defendant D & A
24

25   Services, LLC (“D & A”), through undersigned counsel, that D & A shall have an
26
     extension of time to respond to the Complaint, up to and including April 10, 2019.
27

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              Stipulation To Extend Time To Respond To Initial Complaint By Not More Than 30 Days (L.R. 8-3)

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1
           The extension is needed to allow D & A’s counsel time to investigate
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     Plaintiff’s claims in preparation for responding to the Complaint, and for the
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4    parties to evaluate the prospects for early resolution of this matter. This stipulation
5
     is made in good faith and not for any purpose of delay.
6

7          This stipulation does not extend the time to respond by more than a
8
     cumulative total of thirty (30) days from the date D & A’s response initially would
9

10
     have been due.

11         IT IS SO STIPULATED.
12
     Dated: 3/20/19                            SULAIMAN LAW GROUP, LTD.
13

14                                             /s/Joseph S. Davidson
15
                                               Joseph S. Davidson
                                               Attorney for Plaintiff
16                                             Anita Ross
17

18   Dated: 3/20/19                            SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
19                                             /s/Debbie P. Kirkpatrick
                                               Debbie P. Kirkpatrick
20
                                               Attorney for Defendant
21                                             D & A Services, LLC
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              Stipulation To Extend Time To Respond To Initial Complaint By Not More Than 30 Days (L.R. 8-3)

                                                            2
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1
                                    SIGNATURE ATTESTATION
2
              Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that I have obtained the
3

4    concurrence of the above listed counsel for the Plaintiff in the content of this
5
     document and his authorization to file it.
6

7    Dated: 3/20/19                            SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
8
                                               /s/Debbie P. Kirkpatrick
9
                                               Debbie P. Kirkpatrick
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              Stipulation To Extend Time To Respond To Initial Complaint By Not More Than 30 Days (L.R. 8-3)

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